Case 2:09-cr-00153-MMM Document 22 Filed 06/29/09 Page 1 of 4 Page ID #:197



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 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                    WESTERN DIVISION
12
13    UNITED STATES OF AMERICA,               )    NO. CR 09-153-MMM
                                              )
14                       Plaintiff,           )    MOTION TO EXCLUDE
                                              )    EVIDENCE OF FINGERPRINTS
15                v.                          )    OR FINGERPRINT ANALYSIS
                                              )    BASED ON VIOLATION OF THIS
16    RICHARD MICHAEL WELTON,                 )    COURT’S ORDER;
                                              )    MEMORANDUM OF POINTS
17                       Defendant.           )    AND AUTHORITIES; EXHIBIT
                                              )
18                                            )    DATE:        July 13, 2009
                                                   TIME:        1:15 p.m.
19                                                 JUDGE:       Hon. Margaret M.
                                                                Morrow
20                                                 ROOM:        7
21         Defendant Richard Michael Welton, by and through his attorney of record, Deputy
22 Federal Public Defender John Littrell, hereby moves in limine to exclude late-disclosed
23 evidence of fingerprints and fingerprint analysis.
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Case 2:09-cr-00153-MMM Document 22 Filed 06/29/09 Page 2 of 4 Page ID #:198



 1        This motion is based on the attached memorandum of points and authorities, all
 2 files and records in this case, and such additional evidence and argument as may be
 3 presented at the hearing on the motion.
 4
 5 DATED: June 29, 2009                  Respectfully submitted,
 6                                       SEAN K. KENNEDY
                                         Federal Public Defender
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                                       By        /s/
 9                                       JOHN LITTRELL
                                         Deputy Federal Public Defender
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Case 2:09-cr-00153-MMM Document 22 Filed 06/29/09 Page 3 of 4 Page ID #:199



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         Richard Welton is charged with receipt of child pornography, 18 U.S.C.
 3 2252A(a)(2)(A), (b)(1) and possession of child pornography, 18 U.S.C. §
 4 2252A(a)(5)(B), (b)(2). Trial is scheduled to commence on July 21, 2009.
 5         In support of the charges in the indictment, the Government will attempt to
 6 introduce copies of printed images recovered from the nursery area of the First
 7 Presbytarian Church in Covina, CA. Those pages contain depictions of pornography.
 8 According to documents produced by the government for the first time on Friday,
 9 June 26th, 2009, those printed pages also contain fingerprints that a government expert
10 has identified as being matched to Mr. Welton. The government has known this since
11 about March 30, 2009 – the date on the fingerprint analysis memorandum. See
12 Exhibit A (FBI Laboratory Report of Examination Dated March 30, 2009).
13         In its March 10, 2009 Order Setting Trial Date And Case Management Dates,
14 this Court ordered the government to produce all discovery no later than April 6,
15 2009. Dkt. No. 15. The court’s order specifically provided that “[a]ny discovery
16 submitted after this date will not be admissible at trial.
17         This motion seeks to enforce this Court’s pretrial order and preclude the
18 introduction of evidence that fingerprints were found on the documents and any
19 analysis of those fingerprints. If the fingerprint evidence and analysis is admitted
20 notwithstanding its late production to the defense in violation of the Court’s order,
21 Mr. Welton’s counsel will have to shift the focus of his trial preparation to meet the
22 new evidence just before trial commences, conduct additional research, obtain
23 funding to hire a fingerprint expert, and consult with that expert, who will need to
24 independently review the evidence. It is not clear whether counsel will be able to
25 complete this process and provide the government with the required expert disclosure
26 prior to the currently scheduled trial date. The government has been in possession of
27 the fingerprint analysis for nearly three months. See Exhibit A. It has not offered any
28 explanation for its failure to produce the fingerprint analysis by the deadline ordered

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Case 2:09-cr-00153-MMM Document 22 Filed 06/29/09 Page 4 of 4 Page ID #:200



 1 by the Court. This is the type of late disclosure the Court’s order was intended to
 2 prevent. The appropriate remedy is to preclude the introduction of the fingerprint
 3 evidence, as provided for by this Court’s pretrial discovery order.
 4
 5                                     CONCLUSION
 6         For these reasons, the Court should exclude any evidence related to the
 7 government’s allegation that Mr. Welton’s fingerprints were found on the printed
 8 images found in the church, as well as any testimony regarding the fingerprints.
 9
10 DATED: June 29, 2009                      Respectfully submitted,
11                                           SEAN KENNEDY
                                             Federal Public Defender
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                                           By     /s/
14                                           JOHN LITTRELL
                                             Deputy Federal Public Defender
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